         Case 1:20-cr-00206-RDM Document 13 Filed 10/13/20 Page 1 of 1




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                     :
                                             :
                 v.                          :      Criminal Case No. 20-CR-206 (RDM)
                                             :
SHAHN GILES,                                 :
                                             :
                      Defendant.             :

                                  NOTICE OF DISCOVERY


       The United States of America, by and through its Attorney, the United States Attorney for

the District of Columbia, hereby informs the Court and defense that the attached discovery letter

of October 12, 2020, has been provided to the defense in this matter.


                                             Respectfully submitted,

                                             MICHAEL R. SHERWIN
                                             Acting United States Attorney
                                             D.C. Bar No. 4444188


                                     BY:     /s/ Rachel A. Fletcher
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